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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA, ex rel.
J, Douglas Strauser, et ai.,

Plaintiffs,
v. Case No, 4:18-cv-00673-GKF-SH

STEPHEN L. LAFRANCE HOLDINGS,
INC. ef al.,

Defendants,

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Jo Lynn Jeter, of the law firm of Norman Wohlgemuth, LLP, pursuant to LGnR4-3(b),
moves for admission pro hac vice of Max Isaac Straus, State of New York bar registration
number 5633623. In support hereof, counsel states as follows:

1, The undersigned counsel of record is a resident of Oklahoma, maintains a law office
within the State of Oklahoma and has been duly and regularly admitted to practice in this Court.

2, Counsel certifies that Max Isaac Straus is in good standing with the State of New
York Bar Association where he resides.

3. A Request for Admission Pro Hac Vice, pursuant to LGnR4-2(g) is submitted

herewith,

 
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Dated: September 21, 2021

Respectfully Submitted,

/s/Jo Lynn Jeter

Jo Lynn Jeter, OBA #20252

Joel L. Wohlgemuth, OBA #9811
NORMAN WOHLGEMUTH, LLP
401 S Boston Ave, Suite 3200

Tulsa, OK 74103

Tel,: (918) 583-7571

Fax: (918) 584-7846
JJeter@nwlawok.com
JWohlgemuth@nwlawok.com

William Christopher Carmody

Arun Subramanian

Cory S. Buland

SUSMAN GODFREY L.L.P.

1301 Avenue of the Americas, 32 New York,
New York 10019

Tel.: (212) 336-8330
bcarmody@susmangodfrey.com
asubramanian@susmangodfrey.com
cbuland@susmangodfrey.com

Jonathan J, Ross

TX Bar No,: 007791575
SUSMAN GODFREY L.L.P.
1000 Louisiana St. Suite 5100
Houston, TX 77002

Tel: (713) 651-9366

Fax: (713) 654-6666

Email: jross@susmangodfrey.com

Halley W. Josephs

SUSMAN GODFREY L.L.P.

1900 Avenue of the Stars, Suite 1400 Los
Angeles, CA 90067

Tel.: (310) 789-3100
hjosephs@susmangodfrey.com

 
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Shelley R. Slade

Janet L, Goldstein

VOGEL, SLADE & GOLDSTEIN, LLP 1300
Connecticut Ave., N.W., Suite 701
Washington, D.C, 20009

Tel.: 202-537-5903 sslade@vsg-law.com
jgoldstein@vsg-law.com

Michael Burrage

WHITTEN BURRAGE

512 North Broadway, Avenue, Suite 300
Oklahoma City, OK 73102

Tel: 405-516-7800

Fax: 405-516-7859

E-mail: mburrage@whittenburragelaw.com

Attorneys for Plaintiff/Relator, J, Douglas
Strauser

 
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CERTIFICATE OF SERVICE

Thereby certify that on September 21, 2021, I electronically transmitted the foregoing
document to the Clerk of Court using the ECF System for filing and transmittal of a Notice of
Electronic Filing to the following ECF registrants (names only are sufficient):

Andrew Lu

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John C, Eason

Marianne Smith Hardcastle
Mary Quinn-Cooper
Matthew M. Curley

Megan Fanale Engel

Selina Coleman

Steven Ernest Holden
Timothy D. Eisel

/s/Jo Lynn Jeter
Jo Lynn Jeter

 
